                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    CHAD ALLEN SASSE,                        )
                                             )        Civil Action No. 19 – 130J
                          Plaintiff,         )
                                             )
                     v.                      )        District Judge Kim R. Gibson
                                             )        Magistrate Judge Lisa Pupo Lenihan
    JOHN WETZEL, et al.,                     )
                                             )
                          Defendants.        )
                                             )


                                              ORDER

         1.    Plaintiff has submitted his Prisoner Trust Fund Account Statement for the six

months preceding the filing of his Complaint. (ECF No. 4.) This statement will be construed as

a renewed Motion for Leave to Proceed in forma pauperis (“IFP”) since Plaintiff’s previous IFP

request was denied for his failure to submit this statement. (ECF Nos. 1, 2.)

         2.    Plaintiff’s Motion for Leave to Proceed in forma pauperis is GRANTED to the

extent that the case may proceed without the prepayment of the entire filing fee.

         3.    Plaintiff shall pay $41.49 1 as an initial partial filing fee as provided by 28 U.S.C.

§ 1915(b)(1)(A); however, he is still assessed the total $350.00 filing fee in this case.

         4.    The agency having custody of Plaintiff shall forward, within THIRTY (30)

DAYS from the date of this Order, the initial partial filing fee of $41.49 to the Clerk of Court. A



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  Plaintiff had $1,244.80 worth of deposits into his inmate account for the six months preceding
the submission of his Complaint. The average monthly deposit was $207.47, and twenty percent
of that is $41.49. See 28 U.S.C. § 1915(b)(1)(A) (explaining the calculation of the initial partial
filing fee).
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check from a penal institution, a cashier’s check, or a money order should be made payable to

“Clerk, U.S. District Court for the Western District of Pennsylvania” and transmitted to: Clerk of

Court, U.S. District Court, Western District of Pennsylvania, 700 Grant Street, Suite 3110,

Pittsburgh, PA, 15219. Personal checks will not be accepted. The following information shall

either be included on the face of the check from the penal institution, cashier’s check, or money

order or attached thereto: (i) the full name of the prisoner; (ii) the prisoner’s inmate number; and

(iii) the case number for this action. Checks or money orders which do not have this information

will be returned to the penal institution.

        5.      After payment of the initial partial filing fee, Plaintiff shall be required to make

monthly payments of twenty percent of the preceding month’s income (that is, all funds

deposited into the account) credited to the account. Each time a deposit is made to the inmate’s

account, the agency having custody of Plaintiff shall set aside the deposit immediately before

any disbursement is made by the inmate and shall forward payments from the Plaintiff’s account

on a monthly basis to the Clerk of Court each time the amount in the account exceeds $10.00.

These payments shall continue until the filing fee of $350.00 is paid in full. The prisoner

information described in paragraph 4 shall either be included on the face of the check from the

penal institution, cashier’s check, or money order or attached thereto.

        6.      Plaintiff is warned that he is ultimately responsible for payment of the filing fee if

the agency with custody over him lapses in its duty to make payments on his behalf. For this

reason, if Plaintiff is transferred to another jail or correctional institution, Plaintiff should ensure

that the new institution is informed about this lawsuit and the required monthly payments as set

out herein. Plaintiff is advised to retain a copy of this Order for this purpose. This Order will be

binding on the Superintendent/Warden of any jail or correctional facility where Plaintiff is
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incarcerated until the filing fee is paid in full in accordance with the provisions of 28 U.S.C. §

1915(b)(1).

        7.      The Clerk of Court shall mail a copy of this Order to the Inmate Account Officer

at Plaintiff’s place of confinement.

        8.      The Clerk of Court shall enclose an authorization form which Plaintiff shall

complete and return within ten (10) days of this Order. Plaintiff may either authorize monthly

payments from his inmate account or move to withdraw this action without payment of any

portion of the filing fee.

        9.      The Clerk of Court is directed to reopen this case and to file the Complaint and

any attached exhibits.

        10.     If Plaintiff authorizes payments and the initial partial filing fee of $41.49 is not

received within THIRTY (30) DAYS from the date of this Order then this action may be

dismissed for failure to prosecute.

        DONE AND ORDERED this 18th day of September, 2019.


                                                               /s/ Lisa Pupo Lenihan
                                                               Lisa Pupo Lenihan
                                                               United States Magistrate Judge




 Cc:    Chad Allen Sasse
        GL4441
        SCI Houtzdale
        P.O. Box 1000
        209 Institution Drive
        Houtzdale, PA 16698

        Inmate Account Officer
        SCI Houtzdale
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